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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

BONNIE A. ROEDER,                        )
                                         )
            Plaintiff,                   )
                                         )
v.                                       )   Case No. 4:16 CV 16 RWS
                                         )
CITY OF ST. PETERS, et al.,              )
                                         )
                                         )
            Defendants.                  )


                          MEMORANDUM AND ORDER

      Plaintiff Bonnie Roeder filed this lawsuit in state court against Defendants—

the City of St. Peters, Missouri (the City), and Greg White, the court administrator

for St. Peters—for false arrest, deprivation of due process, and malicious

prosecution. Roeder’s claims stem from her arrest and prosecution for failing to

appear in municipal court on a traffic violation. Defendants removed the case

based on federal question jurisdiction and moved to dismiss Roeder’s claims. I

will dismiss Roeder’s federal claims and remand her state law claim to state court.

                                 Legal Standard

      In ruling on a motion to dismiss, I must accept as true all factual allegations

in the complaint and view them in the light most favorable to the plaintiff. Kohl v.

Casson, 5 F.3d 1141, 1148 (8th Cir. 1993). “To survive a motion to dismiss, a
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complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

                                    Background

      The City had a red light camera ticket program established by City

Ordinance 4536.      According to Roeder’s complaint, the program worked as

follows. A third party vendor installed red light cameras to record traffic at

intersections in the City. Employees of the third party vendor reviewed the videos

and, if they saw a potential violation, sent the City information about the owner of

the car and a video clip of the alleged violation. A City police officer would view

the video and independently determine whether a red light violation occurred.

      If the officer concluded there was a violation, the officer would determine

whether the driver of the vehicle was the owner of the vehicle based on the auto

ownership record and the driver’s license photo of the owner.          If the officer

believed the owner was the driver, the officer would sign a Notice of Violation

directed to the owner. The City would then send the owner a Notice of Violation

of running a red light and demand a fine of $110.00. No points were assessed

against the owner’s driver license for these violations.

      If the owner did not pay the fine, the City sent a notice directing the owner

to appear in municipal court at a specific date and time. If the owner failed to


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appear, the City sent the owner a second notice with a new court date. The second

notice stated that if the owner failed to appear in court, the City would issue a

warrant for the owner’s arrest for Failure to Appear. If the owner failed to appear

at the second court setting, the city administrator would prepare an application for

an arrest warrant for Failure to Appear. The municipal judge would independently

determine whether to issue the arrest warrant for Failure to Appear. If the judge

decided to issue the warrant, the judge would sign it and the warrant would issue.

      On June 7, 2012, Roeder ran a red light in St. Peters. A red light camera

recorded the violation. The City sent Roeder a Notice of Violation and demand for

the $110.00 fine. Roeder did not respond or pay the fine. The City then sent

Roeder its first notice to appear in court for the red light violation. Roeder did not

appear in court. The City sent Roeder its second notice, which informed Roeder

that a warrant for her arrest “on the additional charge of Failure to Appear” would

issue if she failed to appear in court on September 11, 2012. Roeder failed to

appear at the second court date. The court administrator, Defendant White, then

swore out a “Complaint, Affidavit and Information” stating:

      Comes now Greg M. White, Court Administrator
      1020 Grand Teton, St. Peters, MO 63376
      And being duly sworn, on oath, complains that on or about September
      18 (sic), 2012, at or near St. Peters City Hall located within the
      corporate limits of the City of St. Peters, Missouri, the above named
      Defendant [Roeder] did then and there unlawfully FAIL TO APPEAR
      in the St. Peters Municipal Division of the 11th Judicial Circuit Court
      of St. Charles County in response to a notice of summons number(s)
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       STP021020 Red Light Camera
       in violation of Ordinance #442 of the City of St. Peters, Missouri.

At that time, the City did not have an ordinance making failure to appear an

offense. Ordinance 442 contained no section or subsection making failure to

appear an offense. In October 2012, the city municipal judge signed and issued the

warrant for Roeder’s arrest. Roeder was arrested on the warrant a few weeks later

while driving in Creve Coeur, Missouri. She was held in custody for about three

hours and released after posting a $210.00 bond.

       The City prosecuted Roeder on the red light camera ticket and on a separate

charge of “failure to appear.” A jury trial was held on September 4 and 5, 2013.

At the close of the evidence, the trial judge acquitted Roeder of the failure to

appear charge after the City’s attorney acknowledged the City did not have an

ordinance making failure to appear an offense. The jury found Roeder guilty of the

red light violation, and a $110.00 fine was assessed.1 The trial judge dismissed the

red light camera charge on Roeder’s post-trial motion. The City appealed that

dismissal to the Missouri Supreme Court. The Court severed the provision of the

City’s red light camera ordinance which prohibited the assessment of points
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  Additional undisputed facts regarding the subsequent disposition of the red light charge are
taken from the parties’ briefs and confirmed by public records, including the trial court’s
judgment and the Missouri Supreme Court’s decision in the City’s appeal of the dismissal of the
red light camera charge, City of St. Peters v. Roeder, 466 S.W.3d 538 (Mo. banc 2015). I take
judicial notice of these decisions and of the St. Peters City Code of Ordinances and the Missouri
Supreme Court Rules as matters of public record and materials necessarily embraced by the
pleadings. Greenman v. Jessen, 787 F.3d 882, 887 (8th Cir. 2015). Plaintiff does not object to
the inclusion of these additional facts in ruling on the City’s motion to dismiss.

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against a violator’s driver’s license because it conflicted with state law. City of St.

Peters v. Roeder, 466 S.W.3d 538, 547‒549 (Mo. banc 2015). The Court upheld

the remaining provisions of the ordinance as a valid and enforceable law. Id.

      Roeder alleges the City had a policy of seeking warrants on a failure to

appear charge, rather than on failure to appear for the underlying traffic charge,

because it wished to aggressively pursue revenue from the red light camera ticket

program while avoiding any concerns about the program’s legality. Roeder alleges

Defendants violated her rights by arresting and prosecuting her for the charge of

“failure to appear” because at the time of her arrest and prosecution, failure to

appear was not a chargeable offense under the City’s ordinances. She brings

constitutional claims under 42 U.S.C. § 1983 and a state law claim against White

in his individual capacity and against the City: Counts I (against White) and II

(against the City) for false arrest, in violation of her Fourth Amendment rights;

Counts III and IV for deprivation of her procedural and substantive due process

rights, in violation of the Fourteenth Amendment; and Count V for malicious

prosecution, a Missouri state law claim.

                                      Analysis

      In Count I, Roeder alleges that White violated her Fourth Amendment right

to be free from unlawful arrest by applying for an arrest warrant on a failure to

appear charge, rather than for failure to appear on the underlying red light camera


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charge. In Count II, Roeder brings a Fourth Amendment false arrest claim against

the City, alleging the City had a deliberate policy of having its court administrator

apply for arrest warrants for the charge of failure to appear rather than for failure to

appear on the underlying red light charge, and this policy caused her to be falsely

arrested. “The Fourth Amendment requires that arrest warrants be based ‘upon

probable cause, supported by Oath or affirmation . . . .’” Kalina v. Fletcher, 522

U.S. 118, 129 (1997). “The warrant traditionally has represented an independent

assurance that a search and arrest will not proceed without probable cause to

believe that a crime has been committed and that the person or place named in the

warrant is involved in the crime.” Shadwick v. City of Tampa, 407 U.S. 345, 350

(1972). White and the City argue Counts I and II should be dismissed because the

arrest warrant was authorized by law and supported by probable cause.2 White

also argues he is entitled to qualified immunity on Count I because even if he made

a mistake in interpreting the law, the mistake was objectively reasonable.




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  Defendants’ primary argument for dismissal is that Roeder’s claims fail because the law at the
time of her arrest and prosecution made failure to appear a chargeable offense. Defendants argue
that Missouri Supreme Court Rule 37.44, which applies to municipal courts and authorizes them
to issue an arrest warrant if a defendant “fails to appear in response to a summons and upon a
finding of probable cause that an ordinance violation has been committed,” creates the offense of
“failure to appear,” which can then be penalized by the City’s general penalty provision for
violations of its Code or rules. See St. Peters, Mo., Code § 100.060.A. Whether this
construction is correct or not, it does not follow from a plain reading of these materials, and
Defendants provide no authority that supports their argument. As a result, this argument does
not serve as a basis for my dismissal of Roeder’s claims.
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      Roeder’s allegations make a narrow claim about the unconstitutionality of

her arrest. Roeder alleges she ran a red light, was detected on camera, and failed to

appear in court in response to notices of the violation, which included orders that

she appear in court and a warning that she would be arrested if she failed to appear.

The “Complaint, Information and Affidavit” White swore out stated Roeder failed

to appear in response to a notice of summons on the red light camera violation. A

city municipal judge signed and issued the warrant. Roeder does not challenge the

probable cause determination regarding her traffic violation or failure to appear in

court. She alleges that most municipalities in the St. Louis metropolitan area issue

arrest warrants when people fail to come to court in response to summons and that

“[i]n general the charge of Failure to Appear has been an established and lawful

charge for a person who fails to come to court in response to a Notice of Hearing

regardless of the underlying charge.” The apparent difference, by her allegations,

is that those warrants are generally for failing to appear on the underlying charge,

not for failing to appear as a crime unto itself.

      Given these allegations, the only clear issue that emerges from Roeder’s

allegations regarding her arrest (as opposed to her prosecution) is that the warrant

cited the wrong ordinance number. Roeder alleges White failed to comply with

state rules requiring that an information cite the ordinance alleged to have been

violated when he stated she failed to appear in response to a notice of summons on


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the red light violation and cited “Ordinance 442,” which neither referred to the red

light camera ordinance nor contained any section making failure to appear an

offense. This error, she alleges, made the warrant “wholly invalid” and resulted in

her arrest without probable cause because there could not have been probable

cause to believe she committed the ordinance violation of failure to appear when

no ordinance made failure to appear a violation.

         Roeder’s limited allegations about the unconstitutionality of her arrest fail to

state a Fourth Amendment claim. While the information White swore out may not

have complied precisely with state rules, Roeder’s allegation that the warrant cited

the wrong ordinance number fails to make an otherwise reasonable arrest,

supported by probable cause, into a federal constitutional violation. See Johnson v.

Phillips, 664 F.3d 232, 238 (8th Cir. 2011) (explaining that the fact that defendant

lacked authority under state law to make an arrest does not establish that his

conduct violated the Fourth Amendment, as the Supreme Court has “held that the

protections of the Fourth Amendment do not turn on the applicability of state

law”); Wilkes v. Young, 28 F.3d 1362, 1364‒66 & n. 1 (4th Cir. 1994) (finding no

Fourth Amendment violation where affidavit cited wrong provision and included a

purported misrepresentation that did not affect probable cause finding).3 As a

result, Roeder has failed to state a false arrest claim in Counts I and II.


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    Cf. People v. Richardson, 43 Cal.4th 959, 988‒90 (Cal. 2008) (declining to invalidate an arrest
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       Even if Roeder had stated a claim for violation of her Fourth Amendment

rights, I would still dismiss Count I on the basis of qualified immunity. “Qualified

immunity shields federal and state officials from money damages unless a plaintiff

pleads facts showing (1) that the official violated a statutory or constitutional right,

and (2) that the right was ‘clearly established’ at the time of the challenged

conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). “The question of

qualified immunity thus generally turns on the objective legal reasonableness of

the [official’s] action, assessed in light of the legal rules that were clearly

established at the time it was taken.” Saterdalen v. Spencer, 725 F.3d 838, 841

(8th Cir. 2013) (quotation marks omitted). “[A] civil rights suit against an officer

who applied for a warrant may be maintained if ‘on an objective basis, it is obvious

that no reasonably competent officer would have concluded that a warrant should

issue[.]’” Id. (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).

       On these facts, it is not obvious that no reasonably competent official in

White’s position would have concluded that a warrant should issue. Again, Roeder

alleges she ran a red light, was detected on camera, and failed to appear in response

to notices of the violation, which included orders that she appear in court and a

warning that she would be arrested if she failed to appear. The “Complaint,


on the basis that the affidavit listed the wrong subdivision of the section the defendant allegedly
violated); State v. Torgeson, 345 Mont. 415, 420 (Mont. 2008) (finding that the fact that the
warrant listed the wrong offense did not affect the defendant’s substantial rights or invalidate the
warrant).
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Information and Affidavit” White swore out stated Roeder failed to appear in

response to a notice of summons on the red light camera violation.                The

information cited Ordinance 442, which states, in part, that the municipal courts

are subject to the rules of the Missouri Supreme Court. Roeder agrees that the

Missouri Supreme Court Rules authorize municipal courts to issue arrest warrants

if a defendant fails to appear in response to a summons and upon a finding of

probable cause that an ordinance violation has been committed. See Mo. S. Ct. R.

37.44. Based on Roeder’s allegations, an objectively reasonable official in White’s

position could have believed he had authority and probable cause to apply for a

warrant for Roeder’s arrest for her failure to appear, even if that belief was

mistaken. As a result, Count I must also be dismissed because White is entitled to

qualified immunity.

      In Count III, Roeder alleges deprivation of her procedural due process rights,

stating she has a liberty interest in being free from “facing a state deprivation such

as an unlawful criminal charge” and that “[t]he prosecution of Plaintiff by the City

for Failure to Appear denied her that liberty interest without due process of law.”

Even assuming this states a cognizable constitutional deprivation, Roeder does not

allege any procedural defect that would support a procedural due process claim.

See Zinermon v. Burch, 494 U.S. 113, 125 (1990) (“In procedural due process

claims, the deprivation by state action of a constitutionally protected interest in


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‘life, liberty, or property’ is not in itself unconstitutional; what is unconstitutional

is the deprivation of such an interest without due process of law.”).

      Roeder alleges she was captured on camera running a red light, and the City

sent several notices of the violation and her court dates. Roeder failed to appear in

court and was arrested on a warrant independently reviewed and issued by a

municipal judge. She was detained in custody for a relatively short period of time,

after which she received a jury trial and was acquitted of the failure to appear

charge and found guilty of the red light camera charge. Her complaint includes no

allegations of process she was due but did not receive.            See Gunderson v.

Schlueter, 904 F.2d 407, 409‒10 (8th Cir. 1990) (“the absence of a procedural

defect precludes finding a procedural due process violation”); Iqbal, 556 U.S. at

678 (stating that a pleading that offers only “a formulaic recitation of the elements

of a cause of action” does not suffice to survive a motion to dismiss (quotation

marks omitted)). As a result, I will dismiss Count III.

      In Count IV, Roeder alleges White and the City deprived her of her

substantive due process rights by prosecuting her on failure to appear even though

failure to appear was not an offense.          “Substantive due process prevents the

government from engaging in conduct that shocks the conscience or interferes with

rights implicit in the concept of ordered liberty.” Weiler v. Purkett, 137 F.3d 1047,

1051 (8th Cir. 1998) (en banc). To state a substantive due process claim, Roeder


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must allege that a fundamental right was violated by conduct by the defendants that

shocks the conscience. Akins v. Epperly, 588 F.3d 1178, 1183 (8th Cir. 2009).

Roeder alleges she has a liberty interest in being free from “arbitrary government

action such as being subject to the start of and continuation of a criminal charge for

conduct which was not an offense” and that “[t]he prosecution of Plaintiff by the

City for Failure to Appear denied her that liberty interest in substantive due

process.” She also states that “[t]he conduct of Court Administrator White and the

City shock the conscience.” Whether alleged conduct shocks the conscience is a

question of law. Akins, 588 F.3d at 1183.

      A claim of malicious prosecution or prosecution without probable cause is

generally not cognizable as a substantive due process claim. See Albright v.

Oliver, 510 U.S. 266, 268 (1994) (plurality) (declining to recognize a substantive

due process right to be free from criminal prosecution except upon probable cause

where prosecution was dismissed on the ground that the charge did not state an

offense under state law); Harrington v. City of Council Bluffs, 678 F.3d 676, 680

(8th Cir. 2012) (“If malicious prosecution is a constitutional violation at all, it

probably arises under the Fourth Amendment.”). The Eighth Circuit has allowed

substantive due process claims to proceed in cases where the allegations went well

beyond the realm of malicious prosecution, such as allegations of a purposeful

police conspiracy to manufacture false evidence and wrongfully pin serious


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wrongdoing on an innocent person. See, e.g., White v. Smith, 696 F.3d 740, 757‒

58 (8th Cir. 2012); Moran v. Clarke, 359 F.3d 1058, 1060‒61 (8th Cir. 2004).

“Only the most severe violations of individual rights that result from the brutal and

inhumane abuse of official power rise to this level.” White, 696 F.3d at 757

(quotation marks omitted). Roeder’s allegations that the City prosecuted her for

both the red light charge and for her failure to appear even though they did not

have an ordinance making failure to appear an offense, while problematic, do not

rise to this level. As a result, I will dismiss Count IV.

      Finally, in Count V, Roeder brings a Missouri state law claim for malicious

prosecution.   Defendants move to dismiss this claim on statute of limitations

grounds. Resolution of this question requires a determination of whether the

statute of limitations began to run when the trial court acquitted Roeder of the

failure to appear charge or when the entire case concluded after the appeal of the

red light camera charge dismissal. As the answer under Missouri law does not

seem clear, and as I have dismissed all claims over which I have original

jurisdiction, I will decline to exercise supplemental jurisdiction over this claim and

remand the case to state court. See 28 U.S.C. § 1367(c)(3).

      Accordingly,

      IT IS HEREBY ORDERED that Defendants City of St. Peters and Greg

White’s motion to dismiss #[12] is GRANTED as to Counts I, II, III, and IV.


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      IT IS FURTHER ORDERED that the remaining count, Count V, is

REMANDED to the Circuit Court of the County of St. Charles, State of Missouri.

      IT IS FURTHER ORDERED that all remaining pending motions (#[26],

#[28], #[29], and #32) are DENIED as moot.



                                       _________________________________
                                       RODNEY W. SIPPEL
                                       UNITED STATES DISTRICT JUDGE

Dated this 17th day of August, 2016.




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